Case 10-29101-EPK   Doc 1371   Filed 04/16/14   Page 1 of 5
                              Case 10-29101-EPK                             Doc 1371            Filed 04/16/14                 Page 2 of 5
MONTHLY OPERATING REPORT -                                                                                                                     ATTACHMENT NO. 1
POST CONFIRMATION




                                                            QUESTIONNAIRE
                                                                                                                                YES*       NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
                                                                                                                                           X
       the Plan of Reorganization during this reporting period?
2.     Are any post-confirmation sales or payroll taxes past due?                                                                          X
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                           X
4.     Is the Debtor current on all post-confirmation plan payments?                                                             X


               *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                    INSURANCE INFORMATION
                                                                                                                                YES       NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
                                                                                                                                 X
       compensation, and other necessary insurance coverages in effect?
2.     Are all premium payments current?                                                                                         X
               *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

NOTE: All insurances have been canceled and are not needed. All tangible assets of the estate have been sold or disposed of.



                                                                      CONFIRMATION OF INSURANCE
                                                                                                                                Payment Amount     Delinquency
                       TYPE of POLICY              and            CARRIER                           Period of Coverage           and Frequency      Amount




                         DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: ____________________
                   Case 10-29101-EPK             Doc 1371      Filed 04/16/14       Page 3 of 5
MONTHLY OPERATING REPORT -                                                                ATTACHMENT NO. 2
POST CONFIRMATION

                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:      HNI STAFFING, INC.

Case Number: 10-29102-EPK

Date of Plan Confirmation: March 17, 2011

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                      Quarterly           Post Confirmation Total
1.   CASH (Beginning of Period)                            $                        0 $                         0


2.   INCOME or RECEIPTS during the Period                  $                        0 $                        0


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees (see NOTE 1)   $                        0 $                        0
          (ii)  Federal Taxes                                                       0                          0
          (iii) State Taxes                                                         0                          0
          (iv) Other Taxes                                                          0                          0

     b.   All Other Operating Expenses:                    $                        0 $                        0

     c.   Plan Payments:
          (i)   Administrative Claims                      $                        0 $                        0
                Priority Tax Claim                                                  0                          0
          (ii)  Class One                                                           0                          0
          (iii) Class Two                                                           0                          0
          (iv) Class Three                                                          0                          0
          (v)   Class Four (A)                                                      0                          0
          (vi) Class Four (B)                                                       0                          0
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $                        0 $                        0

1.   CASH (End of Period)                                  $                        0 $                        0
                   Case 10-29101-EPK             Doc 1371       Filed 04/16/14     Page 4 of 5
MONTHLY OPERATING REPORT -                                                                ATTACHMENT NO. 3
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                                    BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                      Account         Account           Account    Account
                                                        #1              #2                #3         #4
Name of Bank:                                     NONE
Account Number:
Purpose of Account (Operating/Payroll/Tax)
Type of Account (e.g. checking)

1. Balance per Bank Statement
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                      Date of         Type of           Purchase   Current
       Bank / Account Name / Number                  Purchase        Instrument          Price      Value




Note: Attach copy of each investment account statement.
                        Case 10-29101-EPK                    Doc 1371           Filed 04/16/14             Page 5 of 5
MONTHLY OPERATING REPORT -                                                                                           ATTACHMENT NO. 4
POST CONFIRMATION

                                               CHAPTER 11 POST-CONFIRMATION
                                          CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                               NONE
Account Number
Purpose of Account (Operating/Payroll/Personal)
Type of Account (e.g., Checking)

  Check        Date of
 Number      Transaction                        Payee                                     Purpose or Description                        Amount
NONE




                                                                                                                      TOTAL                 $0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
